                 Case 1:17-cv-02341-CC Document 123 Filed 09/25/19 Page 1 of 2
                      Case: 19-11767 Date Filed: 09/25/2019 Page: 1 of 2


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                       For rules and forms visit
Clerk of Court                                                                       www.ca11.uscourts.gov


                                         September 25, 2019

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 19-11767-HH
Case Style: Yvette Sanders v. QuikTrip Corporation
District Court Docket No: 1:17-cv-02341-CC

The enclosed copy of the Clerk's Entry of Dismissal pursuant to the joint stipulation of the
parties to dismiss is issued as the mandate of this court.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Christopher Bergquist, HH/lt
Phone #: 404-335-6169

Enclosure(s)




                                                             DIS-3 Letter and Entry of Dismissal Vol
         Case 1:17-cv-02341-CC Document 123 Filed 09/25/19 Page 2 of 2
              Case: 19-11767 Date Filed: 09/25/2019 Page: 2 of 2



                      IN THE UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT

                                        ______________

                                        No. 19-11767-HH
                                        ______________

YVETTE ADELLE SANDERS,
Individually and as surviving parent,
as administratrix for the estate
of Andrew Thomas Spencer,

                                                 Plaintiff - Appellant,

versus

QUIKTRIP CORPORATION,

                                                 Defendant - Appellee,

BJS QT, LLC,

                                             Defendant.
                      __________________________________________

                         Appeal from the United States District Court
                             for the Northern District of Georgia
                      __________________________________________

ENTRY OF DISMISSAL: Pursuant to Appellant Yvette Adelle Sanders and Appellee QuikTrip
Corporation's motion for voluntary dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above
referenced appeal was duly entered dismissed on this date, effective September 25, 2019.

                                      DAVID J. SMITH
                           Clerk of Court of the United States Court
                              of Appeals for the Eleventh Circuit

                         by: Christopher Bergquist, HH, Deputy Clerk

                                                          FOR THE COURT - BY DIRECTION
